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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               LONDON DIVISION
                           CASE NO. 6:12-CV-0091-GFVT


    NEW LONDON TOBACCO MARKET, INC.                                   PLAINTIFF


    VS.

    KENTUCKY FUEL CORPORATION and
    JAMES C. JUSTICE COMPANIES, INC.                                  DEFENDANTS

                                          ANSWER

                                    ************

                 Come the Defendants, Kentucky Fuel Corporation and James C.

    Justice Companies, Inc., by and through counsel, and for their Answer to the

    Complaint herein, state as follows:

                                    FIRST DEFENSE

          1.     The Complaint filed herein fails to state a cause of action upon

    which relief can be granted and therefore, should be dismissed.

                                  SECOND DEFENSE

          2.     The Defendants are without sufficient knowledge to admit or deny

    the allegations set out in Paragraph No. 1 of the Complaint and therefore, deny

    the same.

          3.     The Defendants admit the allegations set out in Paragraph No. 2 of

    the Complaint.

          4.     In response to the allegations set out in Paragraph No. 3 of the

    Complaint, the Defendant, Kentucky Fuel, admits that it is a Delaware
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    corporation; however the Defendant denies the remaining allegations set out in

    Paragraph No. 3 of the Complaint.

           5.     The Defendants deny the allegations set out in Paragraph Nos. 4

    and 5 of the Complaint.

           6.     The Defendants are without sufficient knowledge to admit or deny

    the allegations set out in Paragraph Nos. 6 and 7 of the Complaint and therefore,

    deny the same.

           7.     In response to the allegations set out in Paragraph Nos. 8, 9 and 10

    of the Complaint, the Defendants state that any agreement or written document

    referenced therein speaks for itself. If further response is required, the

    Defendants deny the allegations contained therein.

           8.     The Defendants deny the allegations set out in Paragraph Nos. 11,

    12 and 13 of the Complaint.

           9.     The Defendants are without sufficient knowledge to admit or deny

    the allegations set out in Paragraph No. 14 of the Complaint and therefore, deny

    the same.

           10.    In response to the allegations set out in Paragraph Nos. 15 and 16

    of the Complaint, the Defendants state that any agreement or written document

    referenced therein speaks for itself. If further response is required, the

    Defendants deny the allegations contained therein.

           11.    The Defendants deny the allegations set out in Paragraph Nos. 17

    and 18 of the Complaint.

           12.    In response to the allegations set forth in Paragraph No. 19 of the
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    Complaint, the Defendants reassert, re-allege, and re-plead any and all

    admissions and denials previously set out in Paragraph Nos. 1-11 herein.

           13.    The Defendants deny the allegations set out in Paragraph Nos. 20,

    21, 22 and 23 of the Complaint.

           14.    In response to the allegations set forth in Paragraph No. 24 of the

    Complaint, the Defendants reassert, re-allege, and re-plead any and all

    admissions and denials previously set out in Paragraph Nos. 1-13 herein.

           15.    The Defendants deny the allegations set out in Paragraph Nos. 25,

    26 and 27 of the Complaint.

           16.    The Defendants deny the allegations set out in Paragraph Nos. 28,

    29, 30, 31, 32, 33 and 34 of the Complaint.

           17.    The Defendants deny each and every other allegation set out in the

    Complaint, previously not admitted thereto.

                                      THIRD DEFENSE

           18.    The Defendants assert all affirmative defenses set forth in Kentucky

    Civil Rule 8 which are supported by the facts, whether known at this time, and

    specifically reserve the right to assert any and all affirmative defenses that arise

    or become known to the Defendants through the course of discovery.

                            ADDITIONAL AFFIRMATIVE DEFENSES

           19.    By way of additional affirmative defenses, the Defendants would

    plead waiver, estoppel and/or equitable estoppel, failure of consideration, breach

    of contract and failure by plaintiff to honor all of its own contractual obligations to

    Defendants, unclean hands, comparative negligence, contributory negligence,
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    accord and satisfaction, payment and release, and laches as a complete bar to

    any and all of the Plaintiffs claims herein.

           WHEREFORE, the Defendants pray as follows:

           1.     That the Plaintiff’s Complaint be dismissed and that the Plaintiff

    take nothing thereby.

           2.     For their costs herein expended, including a reasonable attorney’s

    fee.

           3.     For all other proper relief.

                                                 Respectfully submitted,


                                                 /s/ Billy R. Shelton_________________
                                                 BILLY R. SHELTON, ESQ.
                                                 WHITNEY L. LUCAS, ESQ.
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                                CERTIFICATE OF SERVICE

             I hereby certify that on June 19, 2012, I electronically filed the foregoing
    with the Clerk of the Court using the CM/ECF system, which will send notice of
    filing to all counsel of record who are certified for electronic filing and that a true
    and correct copy was also duly mailed to the following:

    Hon. Scott M. Webster
    Jensen, Cessna, Benge & Webster
    303 South Main Street
    London, KY 40741
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    Hon. John A. Lucas
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    /s/ Billy R. Shelton__________
    BILLY R. SHELTON
